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                                                              EXHIBIT E
                                  UNITED STATES PATENT NO. 8,948,784
                CLAIM CHART FOR INFRINGEMENT OF REPRESENTATIVE INDEPENDENT CLAIM 1

Note: This representative claim chart is provided solely for pleading purposes in this action and is based upon information known at this
time. This chart does not represent Plaintiff’s infringement contentions, the asserted claims, or all of Plaintiff’s allegations regarding
infringement. Plaintiff further reserves the right to assert additional or different theories of infringement, including infringement under
the doctrine of equivalents.

Infringement analysis provided for any preamble should not be construed as an admission that such preamble is limiting.


       US8948784                              HERE Fleet Telematics Geofencing (The accused instrumentality)

 1. A computer-             To the extent the preamble is limiting, the accused instrumentality offers a method for assessing (e.g.,
 implemented method of      location of the asset) whether a mobile device (e.g., smartphone, laptop, tablet or other handheld device,
 assessing whether a        delivery package, car etc.) is in a geospatial area (e.g., through its built-in GPS and other location based
 mobile device is in a      sensors). Defendant offers a Geofencing API called HERE Fleet Telematics Geofencing (REST API) for
 geospatial area, the       its customers to access a diverse and rich set of location features designed to support some of the most
 method comprising:         complex use cases related to routing, search and map data retrieval. It enables geo-fence defining
                            capabilities using the user’s mobile’s built-in sensors such as GPS, accelerometer and other location based
                            sensors. Defining the geo-fences helps to determine a mobile device context information and provide results
                            or notifications to its customers about the mobile assets.




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      Source: https://www.here.com/products/location-based-services/fleet-telematics




      Source: https://developer.here.com/documentation/geofencing/dev_guide/topics/what-is.html



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      Source: https://developer.here.com/documentation/fleet-telematics/dev_guide/index.html




      Source:
      http://documentation.developer.here.com/pdf/geofencing_hlp/2.5.9/Fleet%20Telematics%20Geofencing
      %20v2.5.9%20Developer's%20Guide.pdf


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                           Source: https://developer.here.com/documentation/geofencing/dev_guide/topics/map-layers-as-
                           geofences.html
receiving, at a mobile     The accused instrumentality offers a method to receive a representation of a non-circular geospatial zone
device, a representation   (e.g., through Map Layers of the HERE Geofencing Extension API. More specifically, a mobile device
of a non-circular          receives the representation of a non-circular geospatial zone through maps. Users access device location
geospatial zone;           through GPS and maps. Geofencing continuously tracks location and further checks the asset position on
                           the map).




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      Source: https://developer.here.com/documentation/geofencing/dev_guide/topics/what-is.html




      Source:
      http://documentation.developer.here.com/pdf/geofencing_nlp/1.1/Geofencing%20Extension%20API%20
      v1.1%20Developer's%20Guide.pdf




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      Source: https://developer.here.com/documentation/android-starter/dev_guide/topics/map-positioning.html




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      Source: https://developer.here.com/documentation/fleet-telematics/dev_guide/topics/here-map-
      content.html



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causing storage of the    Upon information and belief, the accused instrumentality causes storage of the representation of the non-
representation of the     circular geospatial zone in a memory of the mobile device (e.g., via Maps and layers part of Fleet telematics
non-circular geospatial   API, Data Hub API, Tracking API etc.).
zone in a memory of
the mobile device;               “Map Objects
                                 Maps
                                 All map objects are stored in maps. There is a default map for each customer, but customers can
                                 create many maps. A map is a collection of layers.
                                 Layers
                                 A layer can store a logical group of map objects. Customers can create many layers within
                                 each map. Which map objects should reside within the same layer, and which map objects
                                 should go into different layers, is application specific. As a rule of thumb, the objects that are
                                 being searched / displayed / updated together should go together into one layer.”

                                 “Map Storage
                                 There are two storage types available for maps: Updatable and Read-only. Updatable, which
                                 is the default storage type, offers all features at a good performance.

                                 You should only choose Read-only for large maps that rarely change, as they have these
                                 limitations:
                                 Read-only maps can only be uploaded as a whole; you cannot add further layers or modify
                                 objects in these layers. Instead, you have to upload the whole map again.
                                 Uploading a Read-only layer into an existing map deletes the old layer in that map”
                          Source: https://developer.here.com/documentation/custom-location/dev_guide/topics/map-objects.html
                          (emphasis added)




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      Source: https://developer.here.com/documentation/fleet-telematics/dev_guide/topics/here-map-
      content.html




      Source: https://developer.here.com/develop/rest-apis




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                            Source: https://developer.here.com/documentation/android-premium/dev_guide/topics/map-data.html
determining, based at       The accused instrumentality determines based at least in part on the non-circular geospatial zone (e.g.,
least in part on the non-   Maps) an outer circular boundary entirely encompassing the non-circular geospatial zone wherein the outer
circular geospatial         circular boundary is defined by at least a centroid of the non-circular geospatial zone and a maximum radius
zone, an outer circular     (e.g., MapCircle class part of HERE SDK. This can circle an entire country or a region or Earth’ surface.
boundary entirely           Thus, it is implied that the circle entirely encompasses the non-circular geospatial zone).
encompassing the non-
circular geospatial
zone, wherein the outer
circular boundary is
defined by at least a


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centroid of the non-
circular geospatial zone
and a maximum radius;




                             Source:    https://developer.here.com/documentation/geofencing/dev_guide/topics/map-layers-as-
                             geofences.html




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       Source:
       http://documentation.developer.here.com/pdf/geofencing_hlp/2.5.9/Fleet%20Telematics%20Geofencing
       %20v2.5.9%20Developer's%20Guide.pdf

               “MapCircle
               A MapCircle represents a type of MapObject in the shape of a circle with an assigned radius
               distance and a GeoCoordinate center. It can be created by calling the constructor
               MapCircle(double radius, GeoCoordinate center).”
       Source: https://developer.here.com/documentation/android-starter/dev_guide/topics/map-objects-and-
       interaction.html

             “Active Download Approach


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             HERE SDK provides two alternatives to actively fetch map data:

             Map data may be downloaded in the form of map packages for a predefined region or
             country
             Map data may be downloaded for an arbitrary bounding box or a radius around a route
             The first active approach is where you request the download of map data packages which
             cover an entire country or region using the MapLoader APIs. You do this by selecting from a
             list of map packages. A map package may be a state (such as California), region, or a country
             (such as Belgium).”




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       Source: https://developer.here.com/documentation/android-premium/dev_guide/topics/map-data.html
       (emphasis added)




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                            Source: https://developer.here.com/documentation/android-starter/dev_guide/topics/map-positioning.html
determining, based at       The accused instrumentality determines based at least in part on the non-circular geospatial zone (e.g.,
least in part on the non-   Maps) an inner circular boundary entirely encompassed within the non-circular geospatial zone, wherein
circular geospatial         the inner circular boundary is defined by at least the centroid of the non-circular geospatial zone and a
zone, an inner circular     minimum radius (e.g., boundary of geofence is set by adjusting the latitude, longitude, centroid and
boundary entirely           minimum radius.)
encompassed within
the non-circular
geospatial zone,
wherein the inner
circular boundary is
defined by at least the
centroid of the non-


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circular geospatial zone
and a minimum radius;




                           Source:
                           http://documentation.developer.here.com/pdf/geofencing_hlp/2.5.9/Fleet%20Telematics%20Geofencing
                           %20v2.5.9%20Developer's%20Guide.pdf




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       Source:
       http://documentation.developer.here.com/pdf/geofencing_hlp/2.5.9/Fleet%20Telematics%20Geofencing
       %20v2.5.9%20Developer's%20Guide.pdf




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       Source:      https://developer.here.com/documentation/android-starter/dev_guide/topics/map-objects-and-
       interaction.html

              “Spatials (spatial objects, also referred to as geo shapes in this guide) are circles, rectangles,
              polylines and polygons and can be used to mark areas on the map. A spatial object is defined
              by a set of geographical points. The points are translated and scaled as the map is panned and
              zoomed so that the position of the shape on the display faithfully reflects its geographic location. A
              spatial object includes styling information, which determines how to trace its outlines and how to
              fill it (if it is a closed shape).”
       Source: https://developer.here.com/cn/documentation/maps/hls-chn/topics/objects.html (emphasis added)




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       Source: https://developer.here.com/cn/documentation/maps/hls-chn/topics/spatials.html#spatials




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computing a current      The accused instrumentality computes current distance of the mobile device from the centroid of the non-
distance of the mobile   circular geospatial zone (e.g., Geofencing uses current location of a mobile device to compute the distance
device from the          from the centroid of the non-circular geospatial zone. Fleet Telematics Geofencing returns the geofence
centroid of the non-     geometry with the asset's distance).
circular geospatial
zone; and




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       Source:
       http://documentation.developer.here.com/pdf/geofencing_hlp/2.5.9/Fleet%20Telematics%20Geofencing
       %20v2.5.9%20Developer's%20Guide.pdf




       Source:
       http://documentation.developer.here.com/pdf/geofencing_hlp/2.5.9/Fleet%20Telematics%20Geofencing
       %20v2.5.9%20Developer's%20Guide.pdf




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       Source: https://developer.here.com/documentation/android-starter/dev_guide/topics/map-positioning.html




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                                    “In / Out / Distance and Search Radius
                                   For each geo fence that covers the asset position (only for polygons), or is close to the asset
                                   position, the geo fence geometry is returned, together with the asset distance to the geometry.
                                   If the asset is outside (for line and point geo fences it is always outside), then the distance is
                                   the airline to the closest border of the geo fence. Also, if the asset is inside, then the distance is
                                   the airline to the closest border of the polygon, just with a negative sign. If the asset is further
                                   away than the radius of interest (search radius), the geo fence is not listed in the response. If
                                   the asset is inside the polygon, but further away from the border than the radius of interest, a special
                                   value "far inside" is returned. Providing a distance instead of just in/out allows for more use cases:
                                   Applications can generate events with different severity levels for certain distance thresholds. And
                                   applications can suppress superfluous events if the asset if "walking along the geo fence border", so
                                   entering/leaving frequently without significant change in the distance. For performance reasons,
                                   the distances are only air distances (not driving distances or driving times) and they limited
                                   to roughly 20 kilometers, so a distance can be "within polygon 250m from the closest border",
                                   "within polygon > 20km from the closest border", "outside geo fence 333m from the closest
                                   border" or "outside geo fence > 20km from the closest border" (the last one is currently not
                                   returned by the service, it is the default i.e. applies to all non-listed geo fences). Events (like
                                   entering, leaving, flickering along the border, re-entering...) are not explicitly returned, just
                                   distances. The same applies to sequences of events (like entered 3rd time, left 2nd time within a
                                   day...).”
                           Source:
                           http://documentation.developer.here.com/pdf/geofencing_nlp/1.1/Geofencing%20Extension%20API%20
                           v1.1%20Developer's%20Guide.pdf
in response to a           The accused instrumentality determines that the computed current distance both exceeds the minimum
determination that the     radius and does not exceed the maximum radius and utilizes the non-circular geospatial zone to determine
computed current           a context of the mobile device (e.g., based on location and motion (context) of the mobile device, the
distance both exceeds      geofence zone is calculated using computed current distance. The computed distance can be used to provide
the minimum radius         features using the context information fetched from the mobile sensors such as restricted access to certain
and does not exceed the    areas, alert the warehouse, alerting about package delivery, notifying taxi services, notify car rental agencies
maximum radius,            etc.)
utilizing the non-
circular geospatial zone


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to determine a context
of the mobile device.




                          Source: https://developer.here.com/documentation/geofencing/dev_guide/topics/quick-start-test-
                         geocoordinates.html




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       Source: https://developer.here.com/documentation/geofencing/dev_guide/topics/what-is.html




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       Source: https://developer.here.com/documentation/geofencing/dev_guide/topics/map-layers-as-
       geofences.html




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       Source:      https://developer.here.com/documentation/android-starter/dev_guide/topics/map-objects-and-
       interaction.html




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